                          PETITION ON REHEARING
PETITION DENIED.
In a petition for a rehearing, supported by a brief, the respondent requests the court "to modify or clarify its opinion so as to permit the respondent to now apply to the trial court for permission to cross examine the defendant and his witnesses and submit further proof in opposition to the showing presented by the appellant which the trial court adjudged was insufficient, and this court has now determined was sufficient if uncontroverted to require vacation of the default and judgment against the appellant Murcell Mitchell."
The motion to modify the opinion is denied. As to the request for clarification, we held that the court erred in denying the motion to vacate the default and remanded the cause "for further proceedings in conformity to this opinion". The "further proceedings" will consist of entry of an order vacating the default and judgment, the granting permission to the defendant to file his demurrer, or such other pleading as he may wish to file, and the trial of the case should a trial become necessary.
The petition for rehearing is denied. *Page 451 